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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   INTELLECTUAL VENTURES IILLC,

        Plaintiff,                                         Civil Action No. 2:16-cv-00980-JRG

                                                           JURY TRIAL DEMANDED

   FEDEX CORP., FEDERAL EXPRESS
   CORP., FEDEX GROUND PACKAGE
   SYSTEM, INC., FEDEX FREIGHT,
   INC., FEDEX CUSTOM CRITICAL
   INC., FEDEX OFFICE AND PRINT
   SERVICES, INC., and GENCO
   DISTRIBUTION SYSTEM, INC.,

       Defendants.



                                         VERDICT FORM

  In answering the following questions and filling out this Verdict Form, you are to follow all of the
  instructions I have given you in the Court's charge. Your answer to each question must be
  unanimous. Some of the questions contain legal terms that are defined and explained in detail in
  the Jury Instructions. Please refer to the Jury Instructions if you are unsure about the meaning or
  usage of any legal term that appea s in the questions below.


         As used herein:

          Plaintiff refers to: the Plaintiff Intellectual Ventures II LLC.

          FedEx Defendants refers to: FedEx Corp., Federal Express Corp., FedEx Ground
         Package System, hie., FedEx Freight, Inc., FedEx Custom Critical Inc., FedEx
         Office And Print Services, Inc., and GENCO Distribution System, Inc.,
         collectively.

         The Patents-In-Suit refers to: U.S. Patent No. 6,909,356 ( 356 Patent); U.S. Patent
         No. 7,199,715 (’715 Patent); U.S. Patent No. 8,494,581 (’581 Patent); U.S. Patent
         No. 9,047,586 (’586 Patent).




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   QUESTION #1:

  Did Plaintiff prove by a preponderance of the evidence that any or all of the FedEx Defendants
  infringed the following claims of the Patents-in-Suit?


  Check Yes or No for each listed claim in the space provided.




   581 Patent?

         Claim 1:      Yes           No %
                                           /
         Claim 18:     Yes           No V/

         Claim 20:     Yes           No /


      Patent?

        Claim 7:       Yes           ]\j0 % "




      Patent?

        Claim 1:       Yes           No V/
                                     No ¥ /'
        Clai 4:        Yes



      Patent?

        Clai 1:        Yes           No




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  QUESTION #2:

  FOLLOW THIS INSTRUCTION AS TO QUESTION #2:

  In answering Question #2, you should consider the instructions I have given you on pages
  15 & 16 of the Court s Final Instructions to the Jury.




        2A. If you answered yes for any claim of the 715 Patent, then do you find, by a
                preponderance of the evidence, that the infringing FedEx Defendants’ conduct was
               willful?

        Check “Yes or “No in the space provided.

                      Yes No




        2B. If you answered yes” for any claim of the ’356 Patent, then do you find, by a
                preponderance of the evidence, that the infringing FedE Defendants’ conduct was
               willful?

        Check “Yes or No in the space provided.

                      Yes No IY




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  QUESTION #3:

  Did the FedEx Defendants prove by clear and convincing evidence that any of the following claims
  of the Patents-in-Suit are invalid?

  Check Yes or No for each listed claim in the space provided.




   581 Patent, Claim 1

         I valid as obvious:          Yes '/         No

   581 Patent, Claim 18

         Invalid as obvious:          Yes >/         No

  ’581 Patent, Claim 20

         Invalid as obvious:          Yes t/         No




  ’586 Patent, Claim 7
                                             /
                                             /
         Invalid as anticipated:      Yes            No

         Invalid as obvious:          Yes V"         No




  ’715 Patent, Claim 1

         Invalid as obvious:          Yes              o   >

  ’715 Patent, Claim 4

         Invalid as obvious:          Yes            No




  ’356 Patent, Claim 1

         Invalid as obvious:          v
                                      Yes V/         No




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  FOLLOW THIS INSTRUCTION AS TO QUESTION #4:

          If you have answered NO to ALL claims of Question #1, answer no further questions,
  proceed to the last page, have your Foreperson sign and date this verdict for , and then deliver it
  to the Court Security Officer.

          If you have answered YES to EVERY as to every claim in Question #3, answer no further
  questions, proceed to the last page, have your Foreperson sign and date this verdict form, and then
  deliver it to the Court Security Officer.

         If you have answered YES as to ANY of the claims in Question #1, PROCEED TO
  ANSWER QUESTION #4 as to ONLY that claim or claims of the Patents-in-Suit that you have
  found to be both infringed by the FedEx Defendants and you have found is not invalid.




  QUESTION #4:

  What sum of money, if paid in cash today, has Plaintiff proven by a preponderance of the evidence
  would fairly and reasonably compensate Plaintiff through the life of the Patent(s)-in-Suit for the
  damages resulting from the infringement which you have found?




         PLEASE ANSWER IN U.S. DOLLARS




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                                END OF JURY VERDICT FORM


  You have now reached the end of the verdict form and should review it to ensure it accurately
  reflects your unanimous dete minations. After you are satisfied that your unanimous answers are
  co rectly reflected above, then the Jury Foreperson should then sign and date this verdict form in
  the spaces below. Then, notify the Court Security Officer that you have reached a verdict.



         Signed this       day of                        2018.




         Jury Foreperson




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